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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                                                       (Jointly Administered)
         Debtors. 1
                                                       Obj. Deadline: January 12, 2024 at 4:00 p.m. (ET)
                                                       Hr’g Date: January 17, 2024 at 2:00 p.m. (ET)

                                                       Re: Docket No. 1095



                             RE-NOTICE OF MOTION AND HEARING

                    PLEASE TAKE NOTICE that, on January 5, 2024, Lavvan, Inc. (“Lavvan”) filed

the Motion of Lavvan, Inc. Pursuant to Bankruptcy Rule 3018(a) for Estimation and Temporary

Allowance of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1095] (the

“Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

You were previously served with a copy of the Motion.

                    PLEASE TAKE FURTHER NOTICE that, pursuant to the original Notice of

Motion and Hearing filed with the Motion, a hearing (the “Hearing”) to consider the Motion was

scheduled for January 17, 2024 at a time to be determined and the deadline for parties in interest

to file objections, if any, to the Motion was set for January 12, 2024 at 4:00 p.m. (ET) (the

“Objection Deadline”). The Court now has indicated that the Hearing will take place on January

17, 2024 at 2:00 p.m. (ET) before The Honorable Thomas M. Horan at the Court, 824 North

Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware 19801.



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  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.


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Dated: January 8, 2024
       Wilmington, Delaware
                                              Respectfully submitted,

                                              /s/ Emily R. Mathews
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                                                            -and-

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                                                  Counsel for Lavvan, Inc.




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